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                                           LAW OFFICES OF

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                                                                       April 17,2017

  BYECF
  Honorable Madeline Cox Arleo
  United States District Judge
  District of New Jersey
  Martin Luther King Jr. Federal Building
     & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07101

                 Re:     United States v. Xue Yong Liu a/k/a Jack Liu
                         Criminal Docket No. 1 7-00023-MCA

  Dear Judge Arleo:

         As you are aware. I represent Xue Yong Li u, a/k/a Jack Liu, in the above matter.
  Sentencing for Mr. Liu is presently scheduled for May 10, 2017.

          I am writing to you to respectfully request that the conditions of Mr. Liii’s
  appearance bond be modified so as to permit him to take possession of his Chinese
  passport from Pretrial Services for one day for the purpose of furnishing such passport to
  and obtaining from the Chinese consulate located on 12  th
                                                               Avenue in Manhattan a visa
  permitting his newborn daughter Ivy to travel with his wife Vivian to China later this
  spring/summer. Mr. Liu’s family and in-laws in China have not yet met the baby. I have
  been advised that both parents must provide as identification their original passports in
  order for a minor to be granted such a travel visa. Mr. Liu would pick up the passport in
  Nevrark, travel to the consulate, apply for the visa for his daughter and then return the
  passport to Newark either the very same day ortb.e hext day.

          AUSA Dennis Carletta has no objection to this application and Pretrial has
  indicated they will defer to the Government. Pretrial also reports that Mr. Liu has been
  fully cooperative and complied with all co.nditionsirnposed upon him.
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          Thank you for your consideration.




   FLS:bms

   cc: PTS Officer Leslie Richardson (by email)
